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      EXHIBIT 13
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Mornin, Joe

From:                             Aaron Lukken <lukken@vikinglaw.us>
Sent:                             Tuesday, December 31, 2019 10:49 AM
To:                               Mornin, Joe
Subject:                          NSO litigation-- Hague service status (Israel)



[External]

Joe, to update you on the status of service on NSO and Q Cyber... service has been effected, but we
will have to wait another two or three weeks for the Central Authority (the Administration of Courts in
Jerusalem) to issue and send me the Certificates designated by Article 6 of the Hague Service
Convention.

You will recall that my agent was unable to gain access to the defendants' office building on December
10. My agent then was able to ascertain the address of the companies' founder, Hulio Shalev, and
attempted (unsuccessfully) to serve at his home. He advised me on December 18 that a follow-up
attempt at the office location was successful. All we can do now is await the Central Authority's
processing. Of course, I'll let you know as soon as the Certificates arrive.

Many thanks,
Aaron
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Aaron Lukken
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Viking Advocates, LLC
Author of The Hague Law Blog
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